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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION


             UNITED STATES OF AMERICA                 :     CRIMINAL ACTION NO.
                                                      :
                                                      :
                        v.                            :     NO. 1:14-CR-344-2-WSD-ECS
                                                      :
                                                      :
             HUDHAYFAH ABDULLAH                       :




                                    REPORT AND RECOMMENDATION
                                     OF THE MAGISTRATE JUDGE

                                                  I.
                                             Introduction

                  This matter is before the Court on Defendant’s motion, as

             supplemented, to suppress evidence seized from his residence on

             September 24, 2014, pursuant to a federal search warrant. [Doc. 246,

             290]. A copy of the application and warrant with the receipt for

             property seized are attached as exhibits to the motion to suppress.

             [Docs.   291-1,   291-2].    Defendant   did   not   file   a   reply   to   the

             government’s opposition to the motion. The motion is therefore ready

             for a report and recommendation.

                                                  II.
                                         Defendant’s Arguments

                  Defendant’s arguments for suppression are bare-boned. Defendant

             was directed to particularize the motion by December 24, 2014.

             Defendant supplement, however, added very little particularization




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             to Defendant’s motion. See [Doc. 290]. The supplement requests an

             evidentiary hearing and asserts that the good-faith exception to the

             exclusionary rule does not apply. [Id. at 2].

                  The original motion provides the most guidance on Defendant’s

             contentions. There, Defendant first attacks the warrant on the

             grounds that it lacked probable cause to support a search of the

             entire house, as opposed to only Defendant’s areas of the house.

             [Doc. 246 at 2]. Defendant also attacks the scope of the seizures

             made with the warrant, particularly the seizures of the computer and

             electronic media items. [Id. at 2-3]. Finally, Defendant argues that

             the warrant application relied upon allegedly stale information

             regarding the stolen check scheme obtained on August 6, 2014, and,

             with respect to the firearms possession counts, information from

             telephone conversations recorded in May and June of 2014. [Id.].

                                               III.
                                            Discussion

                  A motion to suppress must meet threshold pleading requirements

             before a Court is required to address the merits of the motion:

                  A motion to suppress must in every critical respect be
                  sufficiently    definite,    specific,    detailed,    and
                  nonconjectural to enable the court to conclude that a
                  substantial claim is presented. United States v. Smith,
                  546 F.2d 1275 (5th Cir. 1977); United States v. Poe, 462
                  F.2d 195, 197 (5th Cir. 1972), cert. denied, 414 U.S. 845,
                  94 S. Ct. 107, 38 L.Ed.2d 83 (1973). In short, the motion
                  must allege facts which, if proven, would provide a basis
                  for relief. A court need not act upon general or
                  conclusory assertions founded on mere suspicion or

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                  conjecture, and the court has discretion in determining
                  the need for a hearing. United States v. Harrelson, 705
                  F.2d 733 (5th Cir. 1983). Once a defendant has failed to
                  make a proper pretrial request for suppression, the
                  opportunity is waived unless the district court grants
                  relief for good cause shown.

             United States v. Richardson, 764 F.2d 1514, 1527 (11th Cir. 1985);

             see also United States v. Cooper, 203 F.3d 1279, 1285 (11th Cir.

             2000); United States V. Aguila-Urbay, 480 F. App’x 564, 571 (11th

             Cir. 2012).

                  Defendant’s motion in this case fails to meet the threshold

             pleading requirements for a properly supported motion to suppress.

             He raises three discrete but conclusory grounds for relief. First,

             his sole argument regarding the effectiveness of the warrant to

             authorize   a   search   of   the   entire   residence   is   stated   in   one

             sentence. A review of the application and affidavit in support of

             the warrant, however, reveals in detail the basis upon which a

             warrant was sought for the residence, alleging facts which connect

             the residence with the facts indicating the commission of crimes by

             Defendant and the probability that evidence of these crimes would be

             found at this particular residence, namely, Defendant’s place of

             residence. Nothing in the nature of these factual allegations would

             suggest that evidence of the crimes alleged would only be likely to

             be found in certain limited areas of the residence. This allegation

             of infirmity of the warrant is therefore meritless.


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                  Secondly, Defendant’s four-sentence argument that the warrant

             overreached in authorizing the examination and search of computer

             and other electronic media is equally without merit. The affidavit

             demonstrates a more than sufficient basis for the magistrate judge

             to believe that evidence of the crimes charged, check and credit

             card fraud, as well as possession of firearms, would be found on the

             premises, and that such evidence was also maintained in data form on

             computers or other electronic devices. Certainly there was probable

             cause set forth in the affidavit to support a search of any such

             media for evidence of these crimes.

                  Defendant’s last argument, that information included in the

             warrant was too stale to support probable cause, is also unsupported

             by a review of the affidavit. The affidavit relates facts showing an

             ongoing pattern of fraudulent activity involving stolen Treasury

             Checks accompanied by a proclivity of Defendant to keep and maintain

             firearms in the home as well as to conduct meetings and other

             conspiratorial activities there related to this fraud. The affidavit

             recites that the fraud activity had been regularly occurring since

             at least late 2012. See [Doc. 291-1 at 7]. The affidavit further

             details ongoing fraud involving stolen Treasury checks derived from

             specific telephone intercepts spanning the months in April, May,

             June, July and into August, 2014, approximately one month before the

             warrant   was   sought   in   September   of   2014.   [Id.   at   8-10].   The

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             affidavit also recited facts suggesting possession of firearms by

             Defendant, a felon, on an ongoing basis over the same period. [Id.

             at 11-12]. All of these facts in the affidavit are sufficient to

             satisfy a neutral magistrate that these activities were ongoing, did

             not end in early August 2014, and were connected to Defendant’s

             residence. The information, in other words, was not stale.

                  In United States v. Leon, 468 U.S. 897, 104 S. Ct. 3405 (1984),

             the Supreme Court held that evidence need not be suppressed when

             police obtain the evidence through objective, good faith reliance on

             an initially valid warrant that is later found to lack probable

             cause. 468 U.S. at 920-22, 104 S. Ct. at 3419. “The ‘good-faith

             inquiry   is   confined   to   the   objectively   ascertainable   question

             whether a reasonably well trained officer would have known that the

             search was illegal despite the magistrate’s authorization.               In

             making this determination, all of the circumstances . . . may be

             considered.’”    United States v. Taxacher, 902 F.2d 867, 871 (11th

             Cir. 1990) (quoting Leon, 468 U.S. at 922 n.23, 104 S. Ct. at 3420

             n.23).

                  The good faith exception does not, however, extend to cases

             where the police have no reasonable grounds for believing that the

             warrant was properly issued.         The Supreme Court in Leon identified

             four situations in which reliance by the police on a warrant would

             not be objectively reasonable:

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                    (1)   when the judge issues the warrant on a deliberately or
                          recklessly false affidavit;

                    (2)   when the judge wholly abandons his judicial role;

                    (3)   when a warrant is issued on an affidavit “so lacking in
                          indicia of probable cause as to render official belief in
                          its existence entirely unreasonable”; or

                    (4)   when the warrant is so facially deficient that an officer
                          could not reasonably presume it to be valid.

             Leon, 406 U.S. at 923, 104 S. Ct. at 3421; Taxacher, 902 F.2d at

             871.

                    In this case, none of the four exceptions to the good faith

             doctrine apply. There is no evidence of a false affidavit or that

             Judge Walker wholly abandoned her judicial role. A review of the

             affidavit in this case provides ample grounds for the officers to

             have relied upon the magistrate judge’s determination that a warrant

             be issued. Indeed, a review of the affidavit makes it clear that the

             government presented probable cause for the search of the residence,

             specifying with particularity, as the Fourth Amendment requires, the

             place to be search and the things to be seized. The warrant, based

             upon the affidavit, was valid on its face and supported by probable

             cause. There is simply no basis to challenge the good faith of the

             officers in obtaining the warrant or the basis for the judge in

             issuing it.




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                                                IV.
                                            Conclusion

                  Accordingly, the motion to suppress the evidence obtained from

             the search of Defendant’s residence conducted on September 24, 2014,

             as supplemented, [Docs. 246, 290], should be DENIED.

                   It appearing that there are no further pretrial or discovery

             matters to bring before the undersigned as to this defendant, it is

             therefore ORDERED that this defendant be and is hereby CERTIFIED as

             ready for trial.1



                  SO REPORTED AND RECOMMENDED, this 24th day of April, 2015,.



                                                       s/ E. Clayton Scofield III
                                                     E. CLAYTON SCOFIELD III
                                                     UNITED STATES MAGISTRATE JUDGE




                  1
                    This Court observes that this defendant has been indicted
             with additional defendants and that matters pertaining to such co-
             defendants are still pending. Pursuant to 18 U.S.C. §3161 (h)(7)
             (the Speedy Trial Act), the time for commencing the trial of these
             defendants may be stayed until such time as all defendants have
             been certified ready for trial. Hence, it is not necessary to place
             the above-named defendant’s case on the calendar for trial at this
             time.

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